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UNITED STATES DISTRICT COURT
OCT 28 2019 for the

David J. Bradley, Clerk Southern District of Texas

United States of America

Fernando ‘PEREZ
(United States Citizen)
DOB: 03/27/1982

CaseNo. M-14-2G61E -—-

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Defendant(s}

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ October 27, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Offense Description

Knowingly and intentionally possessed with intent to distribute approximately 66
kilograms of cocaine, a Schedule Hl controlled substance.

Code Section
21 USC 844

This criminal complaint is based on these facts:

See Attachment "A"

¥ Continued on the attached sheet.

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AUSA L. Garcia / ff
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Complainant's sighalyré

Isidro Martinez, HSi Special Agent
Printed name and title

Sworn to before me and signed in my presence.

 

 

Date: 10/28/2019 ~ G-Ode.4,

City and state: NicAlien, Texas U.S. Magistrate Juan F. Alanis
Printed name and title
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Attachment A

On October 27, 2019, Homeland Security Investigations (HSI) responded to the scene of a traffic
stop for a speeding violation conducted by the Palmview Police Department (PPD) in Palmview,
Texas. Law enforcement received information that a tractor trailer matching the description and

location of the tractor trailer that was traffic stopped was possibly transporting narcotics.

During the traffic stop an officer with PPD obtained consent from the sole occupant of the
tractor, Fernando PEREZ, for a canine and physical search of the tractor trailer.

A Hidalgo County Sheriff’s Office Deputy arrived with his service canine to conduct the search.
The canine alerted to the sleeper cab area of the tractor. A subsequent search of the cab revealed
duffle bags, clearly visible from inside the cab, located on the bunk beds of the sleeper area. The
duffle bags were located within proximity of the driver’s seat, comingled with PEREZ’s personal
belongings. Inside the duffle bags were 56 bundles wrapped in black tape with a total weight of
66.22 kilograms. The bundles were probed and were found to contain a white powdery
substance which field tested positive for the characteristics of cocaine. A currency counting
machine was also located on top of bed close to the duffle bags.

PEREZ was placed under arrest and transported to the HSI McAllen field office where he
invoked his Miranda rights and refused to make a statement.
